




Dismissed and Memorandum Opinion filed July 27, 2006








Dismissed
and Memorandum Opinion filed July 27, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00366-CV

____________

&nbsp;

D. GLEN LEE,
Appellant

&nbsp;

V.

&nbsp;

EOS ENERGY, L.L.C.,
Appellee

&nbsp;



&nbsp;

On Appeal from the
113th District Court

Harris County, Texas

Trial Court Cause No.
02-61811

&nbsp;



&nbsp;

M E M O R
A N D U M &nbsp;&nbsp;O P I N I O N

This
appeal is from a judgment signed December 12, 2005.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 

On June
20, 2006, notification was transmitted to all parties of the Court's intent to
dismiss the appeal for want of prosecution unless, within fifteen days,
appellant paid or made arrangements to pay for the record and provided this
court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant
filed no response.

Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed July
27, 2006.

Panel consists of Justices Hudson, Fowler, and
Seymore.

&nbsp;





